7/28/2020            Case 1:16-cv-06728-CM-SDA
                                        Signet Jewelers Document        270
                                                        Limited | Bernstein      Filed
                                                                            Litowitz      01/28/21
                                                                                     Berger & Grossmann Page
                                                                                                        LLP  1 of 4



                                                                                                            Search Site




            Our Firm               Our People                Core Practice Areas                    Cases

            Client Services                 News & Events                  Contact Us


                                            In re Signet Jewelers Limited
                                              Securities Litigation
       Current Cases                          COURT:                     United States District Court for the Southern District of
                                                                         New York


                                                                                                            /2 td
                                                                                                        21 L
       Settled Cases
                                              CASE NUMBER:               1:16-cv-06728 (CM)          7/ lers
                                                                                                               0




                                                                                                             .
                                                                                                          on
                                                                                                 ed e

       Past Successes                         JUDGE:                     Hon. Colleen McMahon
                                                                                              id ew




                                                                                                       si
                                                                                               er t.
                                                                                                    is
                                                                                           t p igh
                                                                                           ec J




                                              CLASS PERIOD:              08/29/2013 - 05/25/2017




                                                                                                  m
                                                                                        D et




                                                                                       ou yr
                                                                                                0
                                                                                      8 gn




                                                                                              2

                                                                                    ith op
                                              CASE CONTACTS:             John Rizio-Hamilton, Rebecca E. Boon, Michael Mathai,
                                                                                           8/
                                                                                  72 Si




                                                                                  w c
                                                                                         2



                                                                         Brenna Nelinson, Matthew Traylor
                                                                                d by
                                                                                      7/
                                                                                06 re




         Related
                                                                                    n
                                                                             cv In




                                                                             ite d
                                                                                  o


                                                                         ib te
                                                                        16 in



                                                                               ed


                                                                      oh ec
                                                                      1- ed



                                                                            iv


                                                                    pr ot




                                              This securities fraud class action (the “Action”) asserted claims pursuant to
                                                                        ch




         Case
                                                                         it




                                                                  is pr
                                                                       C




                                              Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 against
                                                                     Ar


                                                                 n is




         Documents
                                                              tio nt




                                              Defendants seeking to recover for their fraudulent course of conduct that
                                                            uc e
                                                          od um




                                              artificially inflated the price of Signet Jewelers Limited (“Signet” or the “Company”)
         Significant
                                                        pr oc




                                              common stock during the period from August 29, 2013 to May 25, 2017 (the
         Recoveries
                                                      re d




                                              “Class Period”).
                                                    er his
                                                 rth T




                                              Lead Plaintiff Has Settled the Action for $240 Million
                                              Fu




                                              Lead Plaintiff, the Public Employees’ Retirement System of Mississippi (“Lead
                                              Plaintiff”), on behalf of itself and the Court-certified Class (defined below), has
                                              reached a settlement of the Action for $240,000,000 in cash that resolves all
                                              claims in the Action (the “Settlement”). On July 21, 2020, the Court held a hearing
                                              on final approval of the Settlement and related matters. Following the hearing, the
                                              Court entered a Decision and Order finally approving the Settlement, approving
                                              the Plan of Allocation for the proceeds of the Settlement, and awarding attorney's
                                              fees and litigation expenses to Plaintiffs’ Counsel.

                                              The Net Settlement Fund (i.e., the Settlement Amount, plus any and all interest
                                              earned thereon, less court-awarded attorneys’ fees and Litigation Expenses,
                                              Notice and Administration Costs, any required Taxes, and any other fees or costs
                                              approved by the Court) will be distributed in accordance with the Court-approved
                                              Plan of Allocation. The Plan of Allocation is set forth in paragraphs 55-75 of the
                                              Notice.

https://www.blbglaw.com/cases/signet-jewelers-limited                                                                                  1/4
7/28/2020            Case 1:16-cv-06728-CM-SDA
                                        Signet Jewelers Document        270
                                                        Limited | Bernstein      Filed
                                                                            Litowitz      01/28/21
                                                                                     Berger & Grossmann Page
                                                                                                        LLP  2 of 4
                                              If you are a member of the Class, your rights will be affected and you may be
                                              eligible for a payment from the Settlement.

                                              The Class consists of:

                                                        all persons and entities who purchased or otherwise acquired Signet
                                                        common stock during the period from August 29, 2013 to May 25, 2017 (the
                                                        “Class Period”) and who were allegedly damaged thereby (the “Class”),
                                                        except for certain persons and entities who are excluded from the Class by
                                                        definition as set forth in paragraph 28 of the Notice.

                                              Please read the Notice to fully to understand your rights and options. Copies of
                                              the Notice and Claim Form can be found on the Case Documents page. You
                                              may also visit the Settlement website, www.SignetSecuritiesLitigation.com, for
                                              more information about the Settlement.

                                              If you are a member of the Class, in order to be potentially eligible to receive a
                                              payment from the Settlement, you must submit a Claim Form with adequate
                                              supporting documentation postmarked no later than August 28, 2020.

                                              Payments to eligible claimants will be made only after the completion of all claims


                                                                                                           /2 td
                                                                                                       21 L
                                              processing. Please be patient, as this process will take some time to complete.
                                                                                                    7/ lers
                                                                                                              0




                                                                                                            .
                                                                                                         on
                                                                                                ed e

                                                                                  IMPORTANT DATE AND DEADLINE
                                                                                              id ew




                                                                                                      si
                                                                                               er t.
                                                                                                   is
                                                                                           t p igh
                                                                                           ec J




                                                                                                 m
                                                                                        D et




                                                                                       ou yr
                                                                                                            Claim Filing Deadline. Claim F
                                                                                               0
                                                                                      8 gn




                                                                                              2

                                                                                    ith op
                                                                                           8/
                                                                                  72 Si




                                                                                                            be postmarked no later than Au
                                                                                  w c
                                                                                         2



                                              August 28, 2020
                                                                                d by
                                                                                      7/
                                                                                06 re




                                                                                                            2020 to be eligible for a payme
                                                                                    n
                                                                             cv In




                                                                             ite d
                                                                                  o


                                                                         ib te



                                                                                                            Settlement.
                                                                        16 in



                                                                               ed


                                                                      oh ec
                                                                      1- ed



                                                                            iv


                                                                    pr ot
                                                                        ch
                                                                         it




                                                                  is pr
                                                                       C



                                                                     Ar


                                                                 n is




                                              Background
                                                              tio nt
                                                            uc e
                                                          od um




                                              Signet is the world’s largest retailer of diamond jewelry. It operates thousands of
                                                        pr oc




                                              jewelry stores in North America and the United Kingdom under well-known
                                                      re d
                                                    er his




                                              trademarks including “Kay,” “Jared,” “Zales,” “J.B. Robinson,” and “Peoples.” The
                                                 rth T




                                              action alleged that, throughout the Class Period, Signet and its senior officers
                                              made a series of materially misleading statements and omissions about (i) the
                                              Fu




                                              strength of its in-house customer financing credit portfolio, and (ii) a culture of
                                              severe sexual harassment at the Company.

                                              Specifically, throughout the Class Period, Signet falsely touted the Company’s
                                              financial strength by repeatedly representing that its credit portfolio was a key
                                              strategic advantage for the Company, that was very “conservatively managed,”
                                              including with “stringent” underwriting practice. However, after years of
                                              maintaining these assurances, Signet suddenly revealed in mid-2016 that it had
                                              begun a strategic review of its credit portfolio, and worse, had solicited offers to
                                              sell the entire credit book. In May 2017, Signet revealed, for the first time, that
                                              45% of portfolio consisted of subprime loans. As a result of these unexpected
                                              disclosures, the price of the Company’s stock plummeted, causing substantial
                                              investor losses.

                                              Separately, Signet has been defendant in a class action arbitration, pending since
                                              2008, alleging gender discrimination. Signet never fully disclosed the extent of its
https://www.blbglaw.com/cases/signet-jewelers-limited                                                                                  2/4
7/28/2020            Case 1:16-cv-06728-CM-SDA
                                        Signet Jewelers Document        270
                                                        Limited | Bernstein      Filed
                                                                            Litowitz      01/28/21
                                                                                     Berger & Grossmann Page
                                                                                                        LLP  3 of 4
                                              misconduct, and always downplayed its alleged misconduct as involving only
                                              allegations of gender discrimination concerning store-level employment practices.
                                              In truth, Signet was rife with systemic sexual harassment that pervaded the
                                              Company at all levels, and which was condoned and exemplified by the behavior
                                              of its former CEO, who personally participated in harassing and discriminatory
                                              activities. When documents making these facts clear were released in February
                                              2017 and reported on by the Washington Post, Signet’s stock plummeted, causing
                                              additional losses.

                                              On July 27, 2017, the Public Employees’ Retirement System of Mississippi was
                                              appointed Lead Plaintiff in the Action against Signet and its senior officers, and
                                              BLB&G was appointed Lead Counsel. Lead Plaintiff filed the Fifth Amended
                                              Complaint on March 22, 2018. On March 30, 2018, Defendants moved to dismiss
                                              the Fifth Amended Complaint; briefing on Defendants motion was completed on
                                              April 13, 2018; and on November 26, 2018, the Court denied Defendants’ motion
                                              to dismiss.

                                              On March 15, 2019, Lead Plaintiff filed its motion for class certification. On July
                                              10, 2019, the Court granted Lead Plaintiff’s motion for class certification, in part,
                                              and certified a class of investors in Signet stock from August 29, 2013 to May 25,


                                                                                                           /2 td
                                                                                                       21 L
                                              2017.                                                 7/ lers
                                                                                                              0




                                                                                                            .
                                                                                                         on
                                                                                                ed e

                                              On July 24, 2019, Defendants filed a petition for appeal to the Second Circuit
                                                                                              id ew




                                                                                                      si
                                                                                               er t.
                                                                                                   is
                                                                                           t p igh
                                              pursuant to Federal Rule of Civil Procedure 23(f) based on the Court’s class
                                                                                           ec J




                                                                                                 m
                                                                                        D et




                                                                                       ou yr
                                                                                               0
                                              certification decision. Lead Plaintiff opposed that petition on August 5, 2019. The
                                                                                      8 gn




                                                                                              2

                                                                                    ith op
                                                                                           8/
                                                                                  72 Si




                                              Second Circuit granted Defendants’ petition on November 19, 2019.
                                                                                  w c
                                                                                         2

                                                                                d by
                                                                                      7/
                                                                                06 re



                                                                                    n
                                                                             cv In




                                                                             ite d
                                                                                  o




                                              On March 16, 2020, Lead Plaintiffs and Defendants entered into the Stipulation
                                                                         ib te
                                                                        16 in



                                                                               ed


                                                                      oh ec




                                              and Agreement of Settlement setting forth the terms and condition of the
                                                                      1- ed



                                                                            iv


                                                                    pr ot
                                                                        ch
                                                                         it




                                                                  is pr




                                              proposed Settlement of the Action for $240 million in cash. On March 26, 2020,
                                                                       C



                                                                     Ar


                                                                 n is




                                              Lead Plaintiff filed its motion for preliminary approval of the settlement with the
                                                              tio nt
                                                            uc e




                                              Court. The Court granted Lead Plaintiff’s motion on April 14, 2020. The settlement
                                                          od um




                                              was approved by the Court on July 21, 2020.
                                                        pr oc
                                                      re d
                                                    er his
                                                 rth T
                                              Fu




                                              Other Cases of Interest
                                                Willis Towers Watson                             Oracle Corporation
                                                Eastern District of Virginia                     Northern District of California
                                                Salvatore J. Graziano, John Rizio-               John Rizio-Hamilton, Mark Lebovitch,
                                                Hamilton, Rebecca E. Boon, Jai K.                Jonathan D. Uslaner, Abe Alexander,
                                                Chandrasekhar, Jesse L. Jensen,                  Nicholas Gersh
                                                Nicholas Gersh




    Copyright © 2020 Bernstein Litowitz Berger & Grossmann LLP All             Sitemap    Legal / Privacy Policy   FAQs   Credits   Client Login
    Rights Reserved.

https://www.blbglaw.com/cases/signet-jewelers-limited                                                                                          3/4
7/28/2020            Case 1:16-cv-06728-CM-SDA
                                        Signet Jewelers Document        270
                                                        Limited | Bernstein      Filed
                                                                            Litowitz      01/28/21
                                                                                     Berger & Grossmann Page
                                                                                                        LLP  4 of 4
    This web site contains attorney advertising. Prior results do not
    guarantee a similar outcome.




                                                                                                           /2 td
                                                                                                       21 L
                                                                                                    7/ lers
                                                                                                              0




                                                                                                            .
                                                                                                         on
                                                                                                ed e
                                                                                              id ew




                                                                                                      si
                                                                                               er t.
                                                                                                   is
                                                                                           t p igh
                                                                                           ec J




                                                                                                 m
                                                                                        D et




                                                                                       ou yr
                                                                                               0
                                                                                      8 gn




                                                                                              2

                                                                                    ith op
                                                                                           8/
                                                                                  72 Si




                                                                                  w c
                                                                                         2

                                                                                d by
                                                                                      7/
                                                                                06 re



                                                                                    n
                                                                             cv In




                                                                             ite d
                                                                                  o


                                                                         ib te
                                                                        16 in



                                                                               ed


                                                                      oh ec
                                                                      1- ed



                                                                            iv


                                                                    pr ot
                                                                        ch
                                                                         it




                                                                  is pr
                                                                       C



                                                                     Ar


                                                                 n is
                                                              tio nt
                                                            uc e
                                                          od um
                                                        pr oc
                                                      re d
                                                    er his
                                                 rth T
                                              Fu




https://www.blbglaw.com/cases/signet-jewelers-limited                                                                 4/4
